                       Case 2:18-cv-03902-ER Document 12 Filed 10/18/18 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                              Eastern District
                                             __________        of Pennsylvania
                                                         District  of __________


                     HARRY VERNON,                             )      Civil Action No. 2:02-md-875
                             Plaintiff                         )
                                v.                             )      Case No.     2:18-cv-03902-ER
          INTERNATIONAL PAPER CO. et al.,                      )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Owens-Illinois, Inc.                                                                                         .


Date:          10/18/2018                                                               /s/ Brian O. Watson
                                                                                         Attorney’s signature


                                                                             Brian O. Watson (admitted pro hac vice)
                                                                                     Printed name and bar number
                                                                                 Riley Safer Holmes & Cancila LLP
                                                                                      Three First National Plaza
                                                                                     70 W Madison St, Ste 2900
                                                                                       Chicago, Illinois 60602
                                                                                               Address

                                                                                      bwatson@ rshc-law.com
                                                                                            E-mail address

                                                                                          (312) 471-8776
                                                                                          Telephone number

                                                                                          (312) 471-8701
                                                                                             FAX number
